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 1   BENJAMIN B. WAGNER
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 4   Telephone: (916) 554-2700
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 8                                UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         Case No. 2:10-cr-00210-WBS
12                  Plaintiff,                         STIPULATION AND [PROPOSED]
                                                       PROTECTIVE ORDER
13          v.
14
     ROBERT E. ROSENAU, and
15
     DONNA M. ROSENAU
16
                    Defendants.
17

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19          IT IS HEREBY STIPULATED AND AGREED among the parties and their respective

20   counsel, Jean M. Hobler, Assistant U.S. Attorney, representing plaintiff United States of America,

21   Scott Tedmon, Esq., representing defendant Donna M. Rosenau, and Jeffrey Staniels,

22   representing defendant Robert E. Roseanu, that the documents provided as discovery in this case

23   to defense counsel are subject to a Protective Order.

24          The parties agree that discovery in this case contains “Protected Information,” which is

25   defined here as including victim and witness social security numbers, driver license numbers,

26   dates of birth, addresses, telephone numbers, financial records, and email addresses. This

27   Protective Order extends to all documents provided in this case, including those concerning

28   conduct not directly charged in the indictment.


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 1            By signing this Stipulation and Protective Order, defense counsel agree not to share any
 2   documents that contain Protected Information with anyone other than defense counsel and their
 3   designated defense investigators and support staff. Defense counsel may permit the defendants to
 4   view the documents in the presence of their attorney, defense investigators and support staff, so
 5   long as defense counsel, defense investigators and support staff do not allow the defendants to
 6   copy Protected Information contained in the discovery, and defense counsel, defense
 7   investigators, and support staff do not allow the defendants to retain unredacted copies of these
 8   records. The parties intend that this Stipulation and Protective Order apply to all discovery in this
 9   matter, whenever produced, but understand that discovery may have already been handled
10   inconsistently with this Stipulation and Protective Order given the passage of time between initial
11   production and this Stipulation. The parties agree that documents handled inconsistently with the
12   Stipulation before execution of the Stipulation will not be a ground for contempt under this
13   Stipulation and Protective Order.
14            Nothing in this Stipulation and Protective Order prevents defense counsel or each of the
15   defendants from maintaining unredacted copies of records containing each defendant’s own
16   Protected Information.
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 1          In the event that the defendants substitute counsel, undersigned defense counsel agree to
 2   withhold documents containing Protected Information from new counsel unless and until
 3   substituted counsel agree also to be bound by this order.
 4          IT IS SO STIPULATED.
 5   Dated: June ___, 2012                        Respectfully submitted,
 6
                                                          BENJAMIN B. WAGNER
 7                                                        United States Attorney
 8                                                By:     /s/ Jean M. Hobler
                                                          JEAN M. HOBLER
 9                                                        Assistant U.S. Attorney
10                                                By:     /s/ Jean M. Hobler for
                                                          SCOTT TEDMON
11                                                        Counsel for DONNA ROSENAU
                                                          (Authorized on 6/25/2012)
12
                                                  By:     /s/ Jean M. Hobler for
13                                                        JEFFREY STANIELS
                                                          Counsel for ROBERT E. ROSENAU
14                                                        (Authorized on 6/25/2012)
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 1                                            ORDER
 2
           For good cause shown, the stipulation of counsel in criminal case no. 2:10-cr-0210 WBS
 3
     concerning Protected Information is approved, and IT IS SO ORDERED.
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 5   DATED: June 26, 2012
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